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               UNITED STATES BANKRUPTCY COURT- DISTRICT OF MASSACHUSETTS

   In Re: WOOD-BOYLE, LINDA                Chapter 13 # - 11-19152-JNF
          SSN: XXX-XX-3133
          WOOD-BOYLE, DOUGLAS
          SSN: XXX-XX-9625
               MOTION OF THE CHAPTER 13 TRUSTEE FOR ORDER DISMISSING CASE
                        NOTICE OF BAR DATE OBJECTIONS /RESPONSES

   Now comes Carolyn A. Bankowski, Standing Chapter 13 Trustee (the “Trustee”) and respectfully moves
   that this Court enter an Order dismissing this case, and for reasons states as follows:

       1.   On 09/28/2011, the above captioned debtor (the “Debtor”) filed a petition relief under Chapter 13
            of the United State’s Bankruptcy Code.

       2.   The Court entered an Order confirming the Debtor’s Plan, effective 11/01/2011. The Debtor is in
            arrears according to the terms of the proposed plan totaling $ 771.00, which is equal to 4.73
            months of plan payments. This amount does not include the current month and may increase
            prior to hearing. Failure to make timely payments to the Trustee is a material default with
            respect to the confirmed plan and is “cause” for dismissal within the meaning of 11 U.S.C. §
            1307(c)(4).

    Notice is given that any responses and /or objections to this motion are to be filed within twenty one
   (21) days of this date of service. If no timely objections/ responses are filed, the Court may act on this
   motion without further notice or hearing as provided by 11 U.S.C.§102(1)(B).

   WHEREFORE, the Trustee respectfully requests that this Court enter an Order dismissing this case.

   Respectfully submitted,

   /s/ Carolyn A. Bankowski
   Carolyn A. Bankowski BBO #631056
   Office of the Chapter 13 Trustee
   P.O. Box 8250
   Boston, MA 02114-0033
   (617) 723-1313
   13trustee@ch13boston.com

   Date: 01/11/2016
                                           CERTIFICATE OF SERVICE

   The undersigned hereby certifies that a copy of the above Motion was served upon the Debtor, Debtor’s
   counsel of record and those parties listed on the following service list by first class mail, postage prepaid or
   by electronic notice.

   LINDA WOOD-BOYLE
   DOUGLAS WOOD-BOYLE
   61 VICTORY ROAD UNIT 3
   DORCHESTER, MA 02122-

   JEFFREY M. FRANKEL, ESQ.
   LAW OFFICE OF JEFFREY M. FRANKEL
   40 WILLARD STREET SUITE 101
   QUINCY, MA 02169-0000                               /s/ Carolyn A. Bankowski
   Date: 01/11/2016
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                                 UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MASSACHUSETTS



   In Re: WOOD-BOYLE, LINDA                           Chapter 13 # - 11-19152-JNF
          SSN: XXX-XX-3133
          WOOD-BOYLE, DOUGLAS
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                                         ORDER DISMISSING CASE


   The motion of the Chapter 13 Trustee to dismiss this case having come before this Court, due notice having
   been given, and for cause shown, it is hereby:


            ORDERED: that this Chapter 13 case is dismissed.



   Dated:




                                                                 U.S. Bankruptcy Judge
